
41 So.3d 263 (2010)
Anthony BAKER, Appellant,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Appellee.
No. 1D09-5970.
District Court of Appeal of Florida, First District.
May 28, 2010.
Rehearing Denied July 29, 2010.
Anthony Baker, pro se, Appellant.
Bill McCollum, Attorney General, and Trisha Meggs Pate, Bureau ChiefCriminal Appeals, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. Fouts v. Bolay, 795 So.2d 1116 (Fla. 5th DCA 2001); Butterworth v. Espey, 523 So.2d 1278 (Fla. 2d DCA 1988).
DAVIS, VAN NORTWICK, and ROWE, JJ., concur.
